UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------X

John Doe,

                          Plaintiff,                                      No. 24-cv-7973 (RA)

                 v.

SEAN COMBS, DADDY’S HOUSE RECORDINGS
INC., CE OPCO, LLC d/b/a COMBS GLOBAL
f/k/a COMBS ENTERPRISES LLC,
BAD BOY ENTERTAINMENT HOLDINGS, INC.,
BAD BOY PRODUCTIONS HOLDINGS, INC.,
BAD BOY BOOKS HOLDINGS, INC., BAD BOY
RECORDS LLC, BAD BOY ENTERTAINMENT LLC,
BAD BOY PRODUCTIONS LLC,
ORGANIZATIONAL DOES 1-10, AND INDIVIDUAL
DOES 1-10

                          Defendants.

-------------------------------------------------------X

                      NOTICE OF MOTION TO WITHDRAW APPEARANCE

        PLEASE TAKE NOTICE that pursuant to Local Civil Rule 1.4(b), Anthony Buzbee, an

attorney for Plaintiff in the above-captioned action, hereby moves to withdraw his appearance as

an attorney of record until such time as he is admitted to practice in this Honorable District.

Plaintiff will continue to be represented by remaining counsel of record from Curis Law.



Dated: March 18, 2025                                Respectfully submitted,


                                                      /s/ Anthony G. Buzbee
                                                     Anthony G. Buzbee
                                                     The Buzbee Law Firm
                                                     J.P. Morgan Chase Tower
                                                     600 Travis, Suite 7500
Application granted.
                       Houston, Texas 77002
SO ORDERED.            Telephone: (713) 223-5393
                       Facsimile: (713) 223-5909

______________         Attorneys for Plaintiff John Doe
Hon. Ronnie Abrams
March 18, 2025
                  THE BUZBEE LAW FIRM
                             www.txattorneys.com
                                                                          March 17, 2025



 VIA ECF
 Email and U.S. Mail
 Abrams_NYSDChambers@nysd.uscourts.gov

 Honorable Ronnie Abrams
 United States District Court for the
 Southern District of New York
 40 Foley Square, Courtroom 1506
 New York, NY 10007

Re: Admission to the Southern District of New York
    Doe v. Sean Combs, et al., Civ. Action No. 24-cv-7973 (RA)

Dear Judge Abrams:

      I write in response to your Order dated March 11, 2025, requesting further information on
my admission status in the Southern District of New York.

        I made an error in judgment by failing to inform you that I was not admitted to the Southern
District. I now seek to remedy this error by withdrawing my representation of the Plaintiff in this
matter pending the resolution of my admission to this court.

        As an attorney in good standing of the New York State Bar, the Texas State Bar, and your
sister district, the Bar for Eastern District of the State of New York, I believe I am eminently
qualified and should not be precluded from representing the Plaintiff in this action. At this time,
however, my admission status has become a distraction that has shifted the focus of the matter
away from where it should be, which is securing justice for the Plaintiff. Plaintiff will continue to
be represented by remaining counsel of record from Curis Law as I sort these issues out.

                                                     Respectfully,

                                                     /s/ Anthony G. Buzbee
                                                     Anthony G. Buzbee




                                                 1
